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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


  UNITED STATES OF AMERICA,
                                                   CR23-20-BLG-SPW
                      Plaintiff,

  vs.                                               ORDER


  MOISES ZAMORA,

                       Defendant.


        Before the Court is Defendant Moises Zamora's Motion in Limine. (Doc.43).

He asks the Court to exclude three categories of evidence. The Court will address

each in turn.


        First, Zamora asks the Court to exclude any evidence related to the other

charges listed in his motion, the alleged offense conduct in his other federal matter,

and all alleged ties to gangs, violence, or firearms pursuant to Federal Rules of

Evidence 402, 403, and 404. (Doc. 43 at 2-3; Doc. 44 at 2-11). The Government

does not oppose the motions. (Doc. 48 at 1). However, it reserves the option to

inquire into the matters ifZamora "opens the door" to such testimony. {Id, at 1-2).

Zamora did not file a reply. The Court grants the motion, while reserving for the

Government the right to inquire into the matters if Zamora opens the door to such

testimony.
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